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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_______________________________________

STEVE VILLA,

                                    Plaintiff,
      v.                                             Civil Action No. :

SOUTHWEST CREDIT SYSTEMS, L.P.,


                              Defendants.
________________________________________


                    COMPLAINT AND DEMAND FOR JURY TRIAL

                                    I. INTRODUCTION

   1. This is an action for actual and statutory damages brought in response to Defendant’s
      violations of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et seq. (hereinafter
      "FDCPA") which prohibits debt collectors from engaging in abusive, deceptive, and
      unfair practices.

                                 II. JURISDICTION AND VENUE

   2. Jurisdiction of this court arises under 15 U.S.C. §1692k(d), and 28 U.S.C. § 133.

   3. Venue is proper in this district under 28 U.S.C. §1391(b) in that the Defendant transacts
      business here and the conduct complained of occurred here.

                                          III. PARTIES

   4. Plaintiff Steve Villa is a natural person residing in the County of Erie and State of New
      York and is a “consumer” as that term is defined by 15 U.S.C. §1692a(3).

   5. Defendant Southwest Credit Systems, L.P. (hereinafter “SCS”) is a foreign limited
      partnership organized and existing under the laws of the State of Texas and is a “debt
      collector” as that term is defined by 15 U.S.C. §1692a(6).

   6. The acts of the Defendant alleged hereinafter was performed by its employees acting
      within the scope of their actual or apparent authority.

   7. Defendant regularly attempts to collect debts alleged to be due another.




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8. All references to Defendant herein shall mean said Defendant or an employee of said
   Defendant.


                            IV. FACTUAL ALLEGATIONS

9. That Plaintiff allegedly incurred a cable bill. This debt will be referred to as the “subject
   debt.”

10. That the subject debt arose out of a transaction in which money, services or property,
    which was the subject of the transaction, was primarily for personal, family and/or
    household purposes. As such, said debt is a “debt” as that term is defined by 15 U.S.C.
    §1692a(5).

11. Plaintiff allegedly defaulted on the subject debt.

12. That upon information and belief, Defendant sometime after the alleged default, was
    retained to collect on the alleged subject debt.

13. That in or about September 19, 2019, the Defendant sent the Plaintiff a letter attempting
   to collect the alleged subject debt.

14. The September 19, 2019 letter contains language that states “Unless you notify this office
    within 30 days after receiving this notice that you dispute the validity of this debt or any
    portion thereof, this office will assume this debt is valid. If you notify this office in
    writing 30 days from receiving this notice that you dispute the validity of this debt or any
    portion thereof, this office will obtain verification of the debt or obtain a copy of a
    judgment and mail you a copy of such judgment or verification. If you request this office
    in writing within 30 days after receiving this notice this office will provide you with the
    name and address of the original creditor, if different from the current creditor.”

15. In response to the September 19, 2019 letter, in or about September 30, 2019, Plaintiff
    sent a certified letter to Defendant advising them that he disputed owing the alleged debt
    and refused to pay it. Plaintiff sent the letter to: Southwest Credit Systems L.P. P.O. Box
    650784 Dallas Texas 75265

16. On October 5, 2019, Defendant received the aforementioned dispute letter from the
    Plaintiff.

17. Despite receipt of the Plaintiff’s dispute letter, Defendant continued to contact the
    Plaintiff in an attempt to collect the alleged subject debt by sending correspondence to the
    Plaintiff on or about October 9, 2019. The letter states, “On October 9, 2019, you
    disputed the referenced debt. You may obtain substantiation of this debt by sending your
    written request for substantiation to the following address: Southwest Credit Systems,
    L.P. PO Box 650784 Dallas, TX 75265-0784”




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   18. That after receiving the October 9, 2019 letter from the Defendant, Plaintiff was confused
       to both what his rights were and to the effectiveness of his dispute letter sent to the
       Defendant.

   19. That as a result of Defendant’s acts, Plaintiff became nervous, upset, anxious, and
       suffered from emotional distress.

                                  V. CAUSE OF ACTION

   20. Plaintiff repeats, realleges and incorporates by reference the allegations contained in
       paragraphs 1 through 19 above.

              A. Defendant violated 15 U.S.C. §1692e, 15U.S.C. §1692e(10) and 15 U.S.C.
                 §1692g(b) by sending the Plaintiff the October 9, 2019 letter in which he was
                 misled and confused to his validation rights pursuant to the FDCPA and it
                 overshadowed the September 13, 2019 letter wherein it instructed the Plaintiff
                 as to his validation rights under the FDCPA, the result of which caused him to
                 question the sufficiency of his previously sent dispute letter.

              B. Defendant violated 15 U.S.C. §1692g(b) by continuing to contact the Plaintiff
                 in an attempt to collect the alleged subject debt without first providing
                 validation of the alleged subject debt


   21. That as a result of the Defendant’s FDCPA violations as alleged herein, Plaintiff became
       nervous, upset, anxious and suffered from emotional distress.

WHEREFORE, Plaintiff respectfully requests that judgment be entered against the Defendant
for:

      (a) Actual damages;

      (b) Statutory damages pursuant to 15 U.S.C. §1692k.

      (c) Costs, disbursements and reasonable attorney's fees pursuant to 15 U.S.C. § 1692k.

      (e) For such other and further relief as may be just and proper.




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                                     VI. JURY DEMAND

              Please take notice that Plaintiff demands trial by jury in this action.


Dated: October 8, 2020


                                                              /s/ Seth J. Andrews ____________
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